PLEA ON INDICTMENT                                           Date: 7/13/2011

CASE CAPTION: USA v. Carol A. Wilson                        CASE NUMBER: 3:11-CR-80

Pltf’s Attorney: Segev Phillips                             Deft’s. Attorneys: James Ambrose

 X            Defendant appeared with counsel.

              Interpreter                        appeared and sworn.

 X            D efendant sentencing guidelines range discussed and Defendant states he understood possible
              sentence.

 X            Guideline levels states as Level   13 / 1 .

 X            Defendant's constitutional rights explained and Defendant stated he understood rights.

 X            Defendant waived constitutional rights.

  X           Plea agreement stipulated to, each page initialed, and document signed by both counsel
              and the defendant                                                                        .

 X            Plea agreement accepted by Court and made a permanent part of the record.

 X            Statement of Facts read into record by    AUSA Segev Phillips .

 X            Defendant acknowledged accuracy of Statement of Facts.

 X            Defendant entered a plea of guilty to Count(s) 1 of the indictment .

 X            Plea accepted and made a permanent part of the record.

 X            Defendant referred to Probation Department for Presentence Investigation (PSI).

 X            Bond:      Defendant continued on bond as previously ordered by the Court.

              Bond Conditions:

 X            Other:      Sentencing set for 10/14/2011 @ 10:30 a.m.




COURT REPORTER:        Leslie Foley                                 CONVENE: 10:58 a.m.

DEPUTY CLERK:      Jeffrey Garey                                    RECESS:       11:42 a.m.
